Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 1 of KS
                                                                              6


                                                                                             Jun 1, 2021
                             U NITED STA TES DISTR ICT C O UR T
                             SO UTH ERN DISTR ICT O F FLO R IDA
               21-20325-CR-WILLIAMS/MCALILEY
                     CA SE N O .
                                           18U.S.C.j922(g)(1)
                                           18U.S.C.j922(0)
                                           18U.S.C.j9244d)
  UN ITED STA TES O F AM ER ICA

  V S.

  TY 'R EE D IX O N ,

               D efendant.
                                          /

                                          IN DICTM ENT

         The Grand Jury chargesthat:
                                          C O UN T 1
                 Possession ofa Firearm and A m m unition by a C onvicted Felon
                                        (18U.S.C.j922(g))
         O n or aboutM ay 17,2021,in M iam i-D ade County,in the Southern D istrictofFlorida,the

  defendant,

                                         TY 'R EE DIX O N ,

  know ingly possqssed a firearm and am m lm ition in and affecting interstate and foreign com m erce,

  knowingthathehad previously been convicted ofacrimepunishableby im prisonm entforaterm

  exceedingoneyear,in violation ofTitle18,United StatesCode,Section922(g)(1).
         Itisfurtherallegedthatthefireann andam mllnition are:

                 1. One Glock 20,lom m serni-autom atic pistolw ith serialnllm berBM TF986,
                                                                                          'and

                     Approxim ately 27 rotm dsof lom m nm m unition.
Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 2 of 6




                                          C O UN T 2
                 Possession ofFirearm s and A m m unition by a Convicted Felon
                                       (18U.S.C.j922(g))
         On oraboutM ay 17,2021,in M iam i-D ade County,in the Southern D istrictofFlorida,the

  defendant,

                                        TY TRE E DIX O N ,

  knowingly possessed firenrmsand amm tmition in and affecting interstateand foreign comm erce,

  know ing thathe had previously been convicted of a crim e p lnishable by im prisonm entfora term

  exceedingoneyear,inviolation ofTitle18,UnitedStatesCode,Section 922(g)(1).
         Itisfurtheralleged thatthe firearms and am m llnition are:

                    One Century A rm slnternationalA K pistolwith seriélnllm berM 92PV 030351;

                    One Glock 23,.40 calibersem i-autom aticpistolw ith serialnum ber 6GK 436;

                3. One Glock 19,9m m sem i-autom aticpistolw ith serialnum berA AA.C1820,
                                                                                        '

                4. Approxim ately fourroundsofW olf.223 am m unition;

                    Approxim ately tw o roundsofR-P 9m m am m unition;

                    Approxim ately thirty-nine rotm ds ofSpeerLaw m an .45 caliber am m unition'
                                                                                               ,

                    Approxim ately sixteen roundsofBlazer .40 calibernm m tm ition;

                8. Approxim ately oneround ofCBC .40 caliber am m tmition;

                9. Approxim ately two roundsof SIG .40 caliberam m tm ition;

                 10.Approxim ately thirtp fotlrrotm dsofFederalPrem ium .45 caliberam m llnition;

                 11.Approxim ately seventeen rounds ofFiocchi7.62x39 nm m unition'
                                                                                 ,

                 12.Approxim ately forty rounds ofTulam m o 7.62x39 nm m unition;and

                 13.A pproxim ately one round ofH ornaty .40 caliberam m unition.
Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 3 of 6



                                           C O UN T 3
                               IllegalPossession ofa M achinegun
                                      (18U.S.C.j92240)(1))
         On oraboutM ay 17,2021,in M inm i-Dade County,intheSouthern DistrictofFlorida,the

  defendant,

                                        TY 'RE E D IX O N ,

  didknowinglypossessamachinegun,asdefinedin Title26,UnitedStatesCode,Section5845(19
  andTitle 18,UnitedStateCode,Section921(a)(23),inthatthedefendantpossessedaGlockthat
  shoots autom atically m ore than one shot,w ithoutm anualreloading,by a single f'unction of the

  trigger,inviolation ofTitle18,UnitedStatesCode,Section 922(0)(1).
                                            CO U N T 4
                                IllegalPossession of a M achinegun
                                      (18U.S.C.j9224t941))
         On oraboutM ay 17,2021,in M inm i-D ade County,in the Southem D istrictofFlodda,the

  defendant,

                                         TY 'REE D IX O N ,

  didknowinglypossessamachinegun,asdefinedin Title26,UnitedStatesCode,Section5845(1$
  andTitle18,UnitedStateCode,Section 921(a)(23),inthatthedefendantpossessedafirearm with
  no serialnllm ber that shoots autom atically m ore than one shot,w ithout m anualreloading,by a

  singleftmctionofthetrigger,inviolationofTitle18,UnitedStatesCode,Section9224(941).
                                 FO R FEITU RE V LEG A TIO N S

         1.      The allegations in this Indictm ent are re-alleged and by this reference fully

  incorporated herein forthepurpose ofalleging crim inalforfeiture to the U nited States of Am erica

  ofcertain property in w hich the defendant,T Y 'R EE D IX O N has an interest.
Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 4 of 6




            2.    Upon conviction ofaviolation ofTitle 18,United StatesCode,Sections922(g)(1)
  or9224c9(1),orany othercriminal1aw ofthe United States,asalleged in thisIndictment,the
  defendant,shallforfeitto the Urlited Statesatly firem an involved in orused in the com m ission of
        I

  suchoffense,ptlrsuanttoTitle18,UnitedStatesCodeSection924(d)(1).
            A1lpursuantto Title 18,United StatesCode,Sections982(a)(2)(B),1029(c)(1)(C),and
  924(d),andtheproceduressetforthatTitle21,United StatesCode,Section 853,asincorporated
  by Title 18,United StatesCode,Sections982(b)(1)and 1029(c)(2),andTitle28,United States
  Code,Section 2461(c).
                                                         A TRU E BILL




                                                         FO        RSON

.           N
                œCf-              * r.
  JuM AN TON IO G ON ZM EZ
  A CTFNG UN ITED STA TES ATTORN EY


  FREDEW C C.SH A EY
  A SSISTAN T U N ITED STA TES A TTORN EY




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  Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 5 of 6
                                            UNITED STATESDISTRICT CO URT
                                           SOUTH ERN DISTRICT OF FLORIDA

UM TED STATESO F AM ERICA                                    CASE NO .
 V.
TY'REE D IXO N,                                              CERTIFICATE O F TRIA L ATTO RNEY*

                                                             Superseding Case Inform ation:
                            Defendant'
                                     .         /
CourtDivision:(selectOne)                                    New defendantts)          YeS
 4     M iami             Key W est                          Numberofnew defendants
       FTL                W PB           FTP                 Totalnumberofcounts

                1have carefully considered the allegationsofthe indictment,the numberofdefendants,the numberof
                probablewitnessesandthelegalcomplexitiesoftheIndictm ent/lnformation attachedhereto.
                I am aware thatthe inform ation supplied ofzthis statementwillbe relied upon by the Judges ofthis
                Courtin setting theircalendars and scheduling crim inaltrials underthe m andate ofthe Speedy Trial
                Act,Title 28 U.S.C.Section 3161.
                Interpreter:      (YesorNo)             No
                Listlanguage and/ordialect
                Thiscasewilltake 3-5 daysforthepartiestotry.
        5.      Pleasecheck appropriate category and typeofoffense listed below:
                (Checkonlyone)                                      (Checkonlyone)

        I       0 to 5 days                        ?'               Petty
        11      6to 10 days                                         M inor
        III     11to 20 days                                        M isdem.
        IV      21to 60 days                                        Felony             4
        M       61daysandover
        6.      Hasthiscasepreviouslybeen filedinthisDistrictCourt?                  (YesorNo)   No
         Ifyes:Judge                                         CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?                 (YesorNo)         YeS
         lfyes:MajistrateCaseNo.                             21-MJ-02971-AOR
         Relatedm lscellaneousnumbers:
         Defendantts)infederalcustodyasof                    05/17/2021
         Defendantts)in statecustodyasof
         Rule20 from theDistrictof         '
         lsthisapotentialdeathpenalty case?(YesorNo)                   No
                Doesthiscase originatefrom amatterpending in the CentralRegion oftheU .S.Attorney'sOffice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                        Yes         No ?'
        8.      Doesthiscase originatefrom amatterpending in theN orthernRegion oftheU .S.Attorney'sOftk e
                priortoAugust8,2014 (M ag.JudgeShaniekM aynard)?                     Yes         No ?'
                Doesthiscase originatefrom amatterpending in the CentralRegion oftheU .S.Attorney'sOffice
                priortoOctober3,2019(M ag.JudgeJared Strauss)?                       Yes         No g



 *penaltySheetts)attached
                                                                     FREDERIC SHADLE
                                                                     FLORIDA COURT NO.A5502298
                                                                     A SSISTA N T U NITED 'STA TESA TTO RNEY
                                                                                                         REV 3/19/2021
Case 1:21-cr-20325-KMW Document 8 Entered on FLSD Docket 06/01/2021 Page 6 of 6



                          ITM TED STAT ES D ISTR ICT CO U R T
                          SO UTH ERN D ISTR ICT O F FL O RID A

                                     PEN A LTY SH EET

 D efendant'sN am e: TY 'REE D IX O N

 Case N o:

 Cotmts#:1and 2

 Possession offireannsand nm mtmition by a convicted felon
                                           --




 Title18,United StatesCode,Section9224g)
 *M ax.Penalty:Ten Years'Im prisonment

 Cotmts#:3 and 4

 Illegalpossession ofa m achinegun

 Title18,UnitedSGtesCode,Section922(0)(1)
 *M ax.Penalty:Ten Y ears'Im prisonm ent




  WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
